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THE HONORABLE ROBERT S. LASNIK

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

S.L. by and through his parents and
guardians, J.L. and L.L.,
Case No. 2:18-cv-01308-RSL

Plaintiffs
[PROPOSED] ORDER GRANTING JOINT
v. STIPULATED MOTION FOR EXTENSION
OF TIME TO HOLD SETTLEMENT
PREMERA BLUE CROSS, AMAZON CONFERENCE

CORPORATE LLC GROUP HEALTH
AND WELFARE PLAN, and AMAZON
CORPORATE LLC,

Defendant.

 

 

 

 

THIS MATTER having come before the below-signed Judge of the above-entitled
Court upon Parties Joint Stipulated Motion For Extension Of Time To Hold Settlement
Conference and the Court having considered the motion and the pleadings in this
matter, and it appearing to be in the best interest of the case, therefore,

IT IS HEREBY ORDERED that the Parties Joint Stipulated Motion For Extension

Of Time To Hold Settlement Conference is GRANTED.

//
Page 1 - [PROPOSED] ORDER GRANTING JOINT Megan E. Glor, Attorneys at Law
STIPULATED MOTION FOR EXTENSION 707 NE Knott Street, Suite 101

Portland, OR 97212

OF TIME TO HOLD SETTLEMENT CONFERENCE 503-223-7400

(No. 2:18-cv-01308-RSL)

 
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Cas 8-RSL Document 37 Filed 11/19/19 Page 2 of 2
Case O50 -RSL Document 35-1 Filed 11/18/19 Page 2 of 3

DATED this Q * aay of November, 2019

WAS Creuhd

ROBERT S. LASNIK

Page 2 - [EROP@SER] ORDER GRANTING JOINT Megan E. Glor, Attorneys at Law

STIPULATED MOTION FOR EXTENSION

OF TIME TO HOLD SETTLEMENT CONFERENCE

(No. 2:18-cv-01308-RSL)

707 NE Knott Street, Suite 101
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503-223-7400

 
